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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          MICHAEL J MCKENNA, DARLA M                        CASE NO. C21-5038 MJP
            MCKENNA,
11                                                            ORDER DENYING STIPULATED
                                   Plaintiffs,                MOTION TO CONTINUE
12
                   v.
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            HOME DEPOT USA INC,
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                                   Defendant.
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            This matter comes before the Court on the Parties’ Stipulated Motion to Continue the
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     Trial Date and Amend the Case Schedule. (Dkt. No. 15.) Having reviewed the Motion and the
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     remaining record, the Court DENIES the Motion without prejudice.
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            The Parties request a three-month extension of all case deadlines and the trial date in this
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     matter on the theory that they cannot complete discovery before the deadline expires on
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     November 26, 2021. The Parties claim they need more time to obtain medical records related to a
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     surgery that Plaintiff Michael McKenna underwent and his employment records, which the
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     ORDER DENYING STIPULATED MOTION TO CONTINUE - 1
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 1   Parties’ experts may wish to review. (Dkt. No. 15 at 2.) The Parties also identify their desire to

 2   engage in alternative-dispute resolution as a reason for the continuance.

 3          To obtain an amendment to a scheduling order, the movant must demonstrate good cause.

 4   See Fed. R. Civ. P. 16(b)(4). “Rule 16(b)’s ‘good cause’ standard primarily considers the

 5   diligence of the party seeking the amendment.” Johnson v. Mammoth Recreations, Inc., 975 F.2d

 6   604, 609 (9th Cir. 1992). “The district court may modify the pretrial schedule ‘if it cannot

 7   reasonably be met despite the diligence of the party seeking the extension.’” Id. (quoting Fed. R.

 8   Civ. P. 16 Adv. Comm. Notes (1983 amendment).

 9          On the record before it, the Court does not find good cause to continue the trial date and

10   amend the case schedule. The Parties have not identified when McKenna’s surgery occurred,

11   when the medical and employment records were requested, and when they expect the production

12   of these documents to be completed. It remains unclear why all of the case deadlines and the trial

13   date would necessarily be impacted by the upcoming production of records, particularly where

14   the discovery deadline does not expire until November 26, 2021. Nor does the Parties’ desire to

15   engage in mediation serve as a basis to extend any of the case deadlines. The Court does not

16   require mediation and the Parties’ wish to do so will not serve as good cause to extend or impact

17   the Court’s case schedule. On this record, the Court does not find any basis on which to grant the

18   requested extension of the case deadlines or trial date. The Court DENIES the Motion but will

19   consider a renewed motion that adequately responds to the issues identified in this Order.

20          The clerk is ordered to provide copies of this order to all counsel.

21          Dated September 22, 2021.

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                                                           Marsha J. Pechman
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                                                           United States Senior District Judge
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     ORDER DENYING STIPULATED MOTION TO CONTINUE - 2
